8:06-cr-00019-LSC-FG3          Doc # 167       Filed: 01/10/07     Page 1 of 7 - Page ID # 492


                              UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA
                 Plaintiff
v.                                                   Case Number 8:06CR19-004

                                                     USM Number 60206-179

LETICIA BARRIENTOS
                 Defendant
                                                     DENISE E. FROST

                                                     Defendant’s Attorney
___________________________________

                               JUDGMENT IN A CRIMINAL CASE
                     (For Offenses Committed On or After November 1, 1987)

THE Defendant pleaded guilty to count I of the Indictment on July 12, 2006.

ACCORDINGLY, the court has adjudicated that the Defendant is guilty of the following offense:

                                                             Date Offense               Count
         Title, Section & Nature of Offense                   Concluded                Number


 21:846 CONSPIRACY TO DISTRIBUTE NARCOTICS             September 30, 2004                  I

The Defendant is sentenced as provided in pages 2 through 7 of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984.

Following the imposition of sentence, the Court advised the Defendant of his right to appeal
pursuant to the provisions of Fed. R. Crim. P. 32 and the provisions of 18 U.S.C. § 3742 (a) and
that such Notice of Appeal must be filed with the Clerk of this Court within ten (10) days of this
date.

IT IS ORDERED that the Defendant shall notify the United States Attorney for this district within
30 days of any change of name, residence, or mailing address until all fines, restitution, costs and
special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
Defendant shall notify the court and United States attorney of any material change in the
Defendant’s economic circumstances.

                                                                  Date of Imposition of Sentence:
                                                                                 January 8, 2007

                                                                      s/Laurie Smith Camp
                                                                      United States District Judge

                                                                         January 10, 2007
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                                       IMPRISONMENT

The Defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a term of 120 months.

The Court makes the following recommendations to the Bureau of Prisons:

1.      That the Defendant be incarcerated in a federal facility as close to South Texas as
        possible.

2.      Defendant shall be given credit for time served pending trial and sentencing.


The Defendant is remanded to the custody of the United States Marshal.

                                ACKNOWLEDGMENT OF RECEIPT

I hereby acknowledge receipt of a copy of this judgment this ____ day of ____________, ______


                                                            _____________________________
                                                                    Signature of Defendant

                                             RETURN
It is hereby acknowledged that the Defendant was delivered on the ____ day of _______________,
_____ to _________________________________, with a certified copy of this judgment.


                                                        ________________________________
                                                             UNITED STATES WARDEN
                                                   By:__________________________________

NOTE: The following certificate must also be completed if the Defendant has not signed the
Acknowledgment of Receipt, above.

                                        CERTIFICATE


It is hereby certified that a copy of this judgment was served upon the Defendant this ____ day of
_______________, ______


                                                      __________________________________
                                                             UNITED STATES WARDEN

                                                   By:__________________________________
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                                    SUPERVISED RELEASE

Upon release from imprisonment, the Defendant shall be on supervised release for a term of 5
years.

The Defendant shall report to the probation office in the district to which the Defendant is released
within 72 hours of release from the custody of the Bureau of Prisons.

The Defendant shall not commit another federal, state or local crime.

The Defendant shall not possess a firearm, destructive device, or any other dangerous weapon.

The Defendant shall not unlawfully possess a controlled substance. The Defendant shall refrain
from any unlawful use of a controlled substance. The Defendant shall submit to one drug test
within 15 days of release from imprisonment and at least two periodic drug tests thereafter, as
determined by the court.

If this judgment imposes a fine or restitution, it is a condition of supervised release that the
Defendant pay in accordance with the Schedule of Payments sheet of this judgment.

The Defendant must comply with standard conditions that have been adopted by this court as well
as with any additional conditions on the attached page.

                          STANDARD CONDITIONS OF SUPERVISION

1.      The Defendant shall not leave the judicial district without the permission of the court or
        probation officer;
2.      The Defendant shall report to the probation officer and shall submit a truthful and complete
        written report within the first five days of each month;
3.      The Defendant shall answer truthfully all inquiries by the probation officer and follow the
        instructions of the probation officer;
4.      The Defendant shall support his or her dependents and meet other family responsibilities;
5.      The Defendant shall work regularly at a lawful occupation, unless excused by the probation
        officer for schooling, training, or other acceptable reasons;
6.      The Defendant shall notify the probation officer at least ten days prior to any change in
        residence or employment;
7.      The Defendant shall refrain from excessive use of alcohol and shall not purchase, possess,
        use, distribute, or administer any controlled substance or any paraphernalia related to any
        controlled substances, except as prescribed by a physician;
8.      The Defendant shall not frequent places where controlled substances are illegally sold,
        used, distributed, or administered;
9.      The Defendant shall not associate with any persons engaged in criminal activity and shall
        not associate with any person convicted of a felony, unless granted permission to do so by
        the probation officer;
10.     The Defendant shall permit a probation officer to visit him or her at any time at home or
        elsewhere and shall permit confiscation of any contraband observed in plain view of the
        probation officer;
11.     The Defendant shall notify the probation officer within seventy-two hours of being arrested
        or questioned by a law enforcement officer;
12.     The Defendant shall not enter into any agreement to act as an informer or a special agent
        of a law enforcement agency without the permission of the court;
13.     As directed by the probation officer, the Defendant shall notify third parties of risks that may
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        be occasioned by the Defendant’s criminal record or personal history or characteristics and
        shall permit the probation officer to make such notifications and to confirm the Defendant’s
        compliance with such notification requirement.
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                                SPECIAL CONDITIONS OF SUPERVISION


1.      The Defendant shall cooperate in the collection of DNA as directed by the probation officer, pursuant
        to the Public Law 108-405 (Revised DNA Collection Requirements Under the Justice for All Act of
        2004), if such sample was not collected during imprisonment.

2.      The Defendant shall be subject to the search of the Defendant’s premises, vehicle or person, day or
        night, with or without a warrant, at the request of the probation officer to determine the presence of
        alcohol and/or controlled substances, firearms or any other contraband. Any such items found may
        be seized by the probation officer. This condition may be invoked with or without the cooperation of
        law enforcement officers.

3.      The Defendant shall attend, successfully complete, and pay for any mental health diagnostic
        evaluations and treatment or counseling programs as directed by the probation officer.

4.      The Defendant shall comply with all rules and regulations of the Bureau of Immigration Customs
        Enforcement and, if deported, shall not reenter the United States or reside therein without the
        express, written permission of the Secretary of the United States Department of Homeland Security.

5.      The Defendant shall provide the probation officer with access to any requested financial information.

6.      The requirement of 18 U.S.C. § 3583 (d) regarding drug testing within fifteen (15) days of release on
        supervised release and to at least two (2) periodic drug tests thereafter, is suspended until further
        order of the Court because it appears the Defendant will be deported.

7.      The Defendant shall report to the Supervision Unit of the U.S. Probation Office for the District of
        Nebraska between the hours of 8:00 a.m. and 4:30 p.m., 111 South 18th Plaza, Suite C79, Omaha,
        Nebraska, (402) 661-7555, within seventy-two (72) hours of release from confinement or return to the
        United States and, thereafter, as directed by the probation officer.
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                                CRIMINAL MONETARY PENALTIES


       The Defendant shall pay the following total criminal monetary penalties in accordance with
the schedule of payments set forth in this judgment.

       Total Assessment                       Total Fine               Total Restitution

              $100.00




                                                FINE

        No fine imposed.

                                         RESTITUTION

        No restitution was ordered.
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                                      SCHEDULE OF PAYMENTS
 The Defendant shall pay the special assessment in the amount of $100.00.

 The criminal monetary penalty is due in full on the date of the judgment. The Defendant is
 obligated to pay said sum immediately if he or she has the capacity to do so. The United States
 of America may institute civil collection proceedings at any time to satisfy all or any portion of the
 criminal monetary penalty.

 Without limiting the foregoing, and during the Defendant’s term of incarceration, the Defendant
 shall participate in the Bureau of Prisons’ Financial Inmate Responsibility Program. Using such
 Program, the Defendant shall pay 50% of the available inmate institutional funds per quarter
 towards the criminal monetary penalty.

 Without limiting the foregoing, and following release from prison, the Defendant shall make
 payments to satisfy the criminal monetary penalty in the following manner: (a) monthly installments
 of $100 or 3% of the Defendant’s gross income, whichever is greater; (b) the first payment shall
 commence 30 days following the Defendant’s discharge from incarceration, and continue until the
 criminal monetary penalty is paid in full; and (c) the Defendant shall be responsible for providing
 proof of payment to the probation officer as directed.

 Any payments made on the outstanding criminal monetary penalty shall be applied in the following
 order of priority: special assessment; restitution; fine; and other penalties. Unless otherwise
 specifically ordered, all criminal monetary penalty payments, except those payments made through
 the Federal Bureau of Prisons’ Inmate Financial Responsibility Program, shall be made to the clerk
 of the Court. Unless otherwise specifically ordered, interest shall not accrue on the criminal
 monetary penalty.

 All financial penalty payments are to be made to the Clerk of Court for the District of Nebraska, 111
 S. 18th Plaza, Suite 1152, Omaha, NE 68102-1322.

 The Defendant shall receive credit for all payments previously made toward any criminal monetary
 penalties imposed.

 The Defendant shall inform the probation officer of any change in his or her economic
 circumstances affecting the ability to make monthly installments, or increase the monthly payment
 amount, as ordered by the court.

 The Defendant is restrained from transferring any real or personal property, unless it is necessary
 to liquidate and apply the proceeds of such property as full or partial payment of the criminal
 monetary penalty.

CLERK’S OFFICE USE ONLY:
ECF DOCUMENT

I hereby attest and certify this is a printed copy of a
document which was electronically filed with the
United States District Court for the District of Nebraska.


Date Filed:__________________________________

DENISE M. LUCKS, CLERK
By ______________________________________Deputy Clerk
